         Docket No.: 20 Civ. 10864 (LGS)

       UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK

BRIAN HARRIS,
                                    Plaintiff,

                     -against-

CITY OF NEW YORK; Lieutenant ANGEL LEON;
Detective KRISTEN SWINKUNAS (Shield # 2190);
Police Officer ANTONELLA JIMENEZ (Shield # 5209);
Police Officer MAXWELL BALTZER (Shield No.
15451); and Lieutenant JOHN LANE,

                                     Defendants.


   MEMORANDUM OF LAW IN SUPPORT OF
   DEFENDANTS’ MOTION FOR SUMMARY
             JUDGMENT


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          Matter No.: 2021-002294
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------------x

BRIAN HARRIS,
                                                       Plaintiff,

                                 -against-

CITY OF NEW YORK; Lieutenant ANGEL LEON; Detective                               20 Civ. 10864 (LGS)
KRISTEN SWINKUNAS (Shield # 2190); Police Officer
ANTONELLA JIMENEZ (Shield # 5209); Police Officer
MAXWELL BALTZER (Shield No. 15451); and Lieutenant
JOHN LANE,

                                                         Defendants.

-----------------------------------------------------------------------------x

                        MEMORANDUM OF LAW IN SUPPORT OF
                    DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

                                     PRELIMINARY STATEMENT

                  While the defendant officers were securing a Chevy Tahoe that was evidence

related to a shooting, plaintiff relentlessly defied their multiple orders to stay away from the

vehicle. The defendants told him repeatedly “this is a crime scene” and “do not touch this car.”

Rather than complying with these directives, plaintiff continued approaching the Tahoe while

shouting “get away from me,” “you cannot tell me what to do with my property,” and “I’m not

stepping away from anything.” When the officers told plaintiff he would be placed under arrest,

he responded by repeatedly yelling “I don’t care.” Plaintiff clearly demonstrated that nothing the

officers could say would gain his compliance. When Lieutenant Lane tried to grab plaintiff to

place him under arrest, plaintiff pulled his arms away and raised them up by his head. Officer

Baltzer deployed his taser one time at plaintiff, which under the law in this Circuit was a

reasonable means of obviating a hands-on confrontation that could have resulted in injury to the
defendants and plaintiff. Accordingly, defendants respectfully move herein pursuant to Federal

Rule of Civil Procedure 56 for summary judgment as to all claims in the complaint.

                                  STATEMENT OF FACTS

               In the early morning hours of September 2, 2020, the defendants received a radio

transmission about a shooting that occurred in the confines of the 26 Precinct in Harlem. Ex. F

(Baltzer Dep.) at 46: 6-7, 12-13; 50: 23-24; Ex. G (Leon Dep.) at 25: 13 – 26: 2; Ex. H (Lane

Dep.) at 17: 16-20; 24: 16-23; 25: 20-24; 26: 5-7; Ex. I (Swinkunas Dep.) at 42: 8-9; 43: 17-24.

In response they went to Mt. Sinai Morningside Hospital on West 113th Street in Manhattan. Ex.

F (Baltzer Dep.) at 45: 25 – 46: 13; 50: 24-25; Ex. G (Leon Dep.) at 24: 11-16; 33: 15-20; Ex. H

(Lane Dep.) at 27: 19 – 28: 9; Ex. I (Swinkunas Dep.) at 42: 2-5; 43: 25 – 44: 6; Ex. J (Jimenez

Dep.) at 40: 12-24.

               When they arrived at the hospital, the defendants observed a blue Chevy Tahoe

parked in front of the emergency room entrance with the front passenger door open and blood on

the passenger’s seat. Ex. D (50-h) at 25: 13 – 26: 2; Ex. E (Pl. Dep.) at 80: 4-5; 81: 2-3; 85: 11-

12; Ex. F (Baltzer Dep.) at 47: 7-22; 54: 24 – 55: 6; Ex. G (Leon Dep.) at 34: 15-16; 39: 14-19;

Ex. H (Lane Dep.) at 28: 10-17; 30: 8-14; 46: 3-5; Ex. I (Swinkunas Dep.) at 45: 16 – 46: 25; 63:

24 – 64: 10; Ex. J (Jimenez Dep.) at 43: 19 – 45: 6. The officers learned that the shooting victim

was inside the hospital and, suspecting the Tahoe was involved in the shooting, they stood

nearby to secure it and to make sure no one went near it until it could be examined for evidence.

Ex. F (Baltzer Dep.) at 48: 8-21; 50: 25 – 51: 3; Ex. G (Leon Dep.) at 35: 5-10, 17-20; 70: 19 –

71: 9; Ex. H (Lane Dep.) at 29: 14-20; 30: 18-22; 32: 13-15; 67: 4-8; Ex. I (Swinkunas Dep.) at

49: 6-14; 61: 18-19; 61: 12-22; 62: 20-25; 63: 12-14; Ex. J (Jimenez Dep.) at 40: 23-24; 48: 16-

18; 49: 14 – 50: 19.




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                  As they stood safeguarding the car, plaintiff arrived on scene and approached the

Tahoe. 1 Ex. D (50-h) at 26: 13-24; 27: 3-4; Ex. E (Pl. Dep.) at 81: 23 – 82: 4; 82: 20-22; 84: 16-

23; Ex. F (Baltzer Dep.) at 52: 3-24; Ex. G (Leon Dep.) at 37: 12-20; Ex. H (Lane Dep.) at 33:

11 – 34: 3; 44: 3-25; 45: 20 – 46: 24; Ex. I (Swinkunas Dep.) at 67: 7 – 68: 2; 68: 11 – 69: 20;

72: 19 – 73: 12; Ex. J (Jimenez Dep.) at 56: 19-21; Ex. L (Leon BWC #1) at 00:00 – 00:30. He

was defiant, hostile, and argumentative. Ex. L (Leon BWC#1) at 00:01 – 1:12. Plaintiff said he

was the owner of the vehicle and it was his son who had been shot. Ex. D (50-h) at 27: 7-9; Ex.

E (Pl. Dep.) at 83: 13-17, 18-19; Ex. F (Baltzer Dep.) at 54: 10-13; Ex. H (Lane Dep.) at 45: 17-

19; Ex. I (Swinkunas Dep.) at 70: 2-11; Ex. J (Jimenez Dep.) at 57: 14 – 58: 3. The defendants

repeatedly told plaintiff to back away from the Tahoe. Ex. D (50-h) at 27: 14 – 28: 2; 28: 19-23;

Ex. E (Pl. Dep.) at 84: 13-15 . However, plaintiff ignored these commands and continued

walking towards the vehicle until he was in the space between the open passenger door and the

passenger seat. Ex. D (50-h) at 29: 8-9; Ex. E (Pl. Dep.) at 85: 6-7; 89: 7-12; 93: 6-13; 98: 20 –

99: 2; 103: 25 – 104: 1; Ex. J (Jimenez Dep.) at 58: 20-25; 61: 5-15; 73: 12-14; Ex. L (Leon

BWC #1) at 00:01 – 1:05.



1
  Plaintiff’s explanation of what happened before he arrived at the hospital is not material because it is not part of the
totality of the circumstances the officers were aware of. Nevertheless, he testified that at around 3:00 a.m. he
received a phone call from his estranged wife Joy Harris informing him that that their son had been shot and was in
Mt. Sinai Hospital. Ex. D (50-h) at 16: 8-12; 17: 24-25; 18: 2-5; Ex. E (Pl. Dep.) at 56: 6 – 57: 12. Joy Harris had
learned of the shooting from an anonymous male caller, who said he and some other people had dropped their son
off at the hospital in a Tahoe that belonged to plaintiff. Ex. D (50-h) at 18: 12-21; 19: 9-14; Ex. E (Pl. Dep.) at 58:
2-15; 65: 5-12. Joy Harris did not know where their son had been shot or what condition he was in. Ex. E (Pl. Dep.)
at 57: 22 – 58: 2. Plaintiff picked Joy Harris up in a car belonging to his friend and the two drove to the hospital.
Ex. D (50-h) at 20: 3-10; Ex. E (Pl. Dep.) at 63: 13 – 64: 8; 68: 15-17. When plaintiff picked Joy Harris up, she told
him that the caller said he left the key to the Tahoe at a mailbox on 125th Street and Amsterdam Avenue next to a
Dunkin Donuts. Ex. D (50-h) at 19: 15 – 20: 2; Ex. E (Pl. Dep.) at 67: 2-10; 68: 5-8. Plaintiff dropped Joy Harris
off at the emergency room and, without waiting to find out what condition his son was in, made a U-turn to retrieve
the Tahoe key. Ex. D (50-h) at 20: 22-24; Ex. E (Pl. Dep.) at 71: 10-13; 72: 19-25, 73: 6-9. Plaintiff found the key
at 125th Street on the ground near a wifi/phone charging stand. Ex. D (50-h) at 20; Ex. E (Pl. Dep.) at 75: 9 – 76: 18.
Plaintiff then drove back to Mt. Sinai Hospital, parked near the entrance to the emergency room, and saw his Tahoe
parked at an angle halfway on the sidewalk in the emergency room driveway. Ex. D (50-h) at 21: 8-10; 25: 13 – 26:
2; Ex. E (Pl. Dep.) at 78: 20 – 79: 10; 80: 4-5; 81: 2-3. At that point he still did not know what condition his son
was in and thought he might be dead. Ex. E (Pl. Dep.) at 80: 13; 84: 3-6.


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              Approximately three officers approached plaintiff as he stood by the open

passenger door. Ex. E (Pl. Dep.) at 103: 20 – 104: 1; 107: 9-10. Plaintiff raised his hands over

his head and told the police “get away from me.” Ex. E (Pl. Dep.) at 99: 6; Ex. L (Leon BWC

#1) at 00:27 – 00:31. Lieutenant Leon responded by twice saying in substance “this is a crime

scene do not touch the car.” Ex. L (Leon BWC #1) at 00:30 – 00:39. Plaintiff responded by

yelling “you cannot tell me what to do with my property, this is my property,” then he turned

towards the Tahoe and took another step closer to it. Ex. E (Pl. Dep.) at 99: 19-22; Ex. L (Leon

BWC #1) at 00:39 – 00:47. Several officers including Lieutenant Leon again told plaintiff in

substance “do not touch the car,” and Lieutenant Lane said “you’re going to be under arrest.”

Ex. L (Leon BWC #1) at 00:47 – 00:49. Plaintiff responded by yelling “I don’t care” five times.

Ex. L (Leon BWC #1) at 00:49 – 00:55. Lieutenant Leon again said “this is a crime scene,” and

plaintiff responded by saying “please get away from me, please get away from me” while

extending his arms out towards Lieutenant Leon. Ex. L (Leon BWC #1) at 00:57 – 1:00.

Plaintiff then said “you already looked inside the car,” to which Lieutenant Leon responded “no

we didn’t” and Lieutenant Lane said “step away from the car, step away from the car.” Ex. L

(Leon BWC #1) at 1:01 – 1:03. The next thing plaintiff said was “I’m not stepping away from

anything.” Ex. L (Leon BWC #1) at 1:04 – 1:05.

              At that point, Lieutenant Lane said “turn around” and Lieutenant Leon said

“you’re going to be placed under.” Ex. H (Lane Dep.) at 52: 8-13; Ex. L (Leon BWC #1) at 1:04

– 1:07. Lieutenant Lane tried to grab plaintiff’s arms, but plaintiff raised his hands up by his

head, turned away from the officers towards the passenger seat of the Tahoe, and shouted “please

don’t touch me.” Ex. E (Pl. Dep.) at 103: 25 – 104: 11; 104: 23 – 105: 3; 106: 16-21; 107: 7-14;

107: 21 – 108: 1; Ex. F (Baltzer Dep.) at 74: 3-13; 77: 10-11; Ex. G (Leon Dep.) at 53: 12-13;




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60: 12-17; 62: 7-10; 84: 14-17; Ex. H (Lane Dep.) at 52: 16 – 53: 5; 54: 9-15; 55: 14-16; 57: 4-7;

Ex. I (Swinkunas Dep.) at 82: 5-7; Ex. J (Jimenez Dep.) at 62: 6-7; 67: 2; 67: 23 – 68: 7; Ex. L

(Leon BWC #1) at 1:06 – 1:07. When plaintiff raised his arms up, Lieutenant Lane thought

plaintiff was about to hit him because he had refused numerous orders to back away from the

Tahoe, said “you can’t tell me what to do with my property,” his behavior and demeanor were

aggressive, and he did not seem to care when he was told he would be placed under arrest. Ex. H

(Lane Dep.) at 55: 5-9; 56: 7-22. Officer Jimenez also thought plaintiff could have injured

someone because he was very big, seemed to be upset, and was being uncooperative. Ex. J

(Jimenez Dep.) at 79: 17 – 80: 11.

               Lieutenant Lane continued trying to grab plaintiff’s arms but was unable to

because plaintiff was pulling them away and twisting and turning his body. Ex. H (Lane Dep.) at

57: 8-24; 60: 23 – 61: 9; 61: 25 – 63: 4. Plaintiff heard an officer say “tase him,” which he

thought might be a “scare tactic.” Ex. D (50-h) at 29: 12-13; Ex. E (Pl. Dep.) at 103: 5-8; 106: 7-

11; 110: 22-24; 111: 3-5; 114: 3-10.      Plaintiff heard “tase him” a second time, which he

understood meant he might be tased. Ex. D (50-h) at 29: 20-21; Ex. E (Pl. Dep.) at 110: 3-4;

114: 11-14. Plaintiff heard “tase him” a third time, which he thought might still be “a threat” but

he “knew it was serious at that point.”. Ex. D (50-h) at 30: 6-8; Ex. E (Pl. Dep.) at 114: 24 –

115: 7. Regardless, plaintiff still did not back away from the Tahoe and or put his hands behind

his back to be handcuffed. Ex. D (50-h) at 27: 14 – 30: 5; Ex. E (Pl. Dep.) at 117: 18-23.

               Lieutenant Leon said in substance “get your taser” and “taser him” four or five

times, which he intended as an order to Officer Baltzer. Ex. F (Baltzer Dep.) at 59: 12 – 60: 10;

Ex. G (Leon Dep.) at 52: 10-19; 54: 15-21; 63: 11-17. The situation was very fast-moving, Ex. E

(Pl. Dep.) at 95: 16-17; 97: 1-3; 101: 2-3; 105: 20-21; 109: 24; 115: 19, and Lieutenant Leon




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made the decision to order Officer Baltzer to draw his taser in a split-second. Ex. G (Leon Dep.)

at 89: 20-21. Lieutenant Leon directed Officer Baltzer to draw his taser because of plaintiff’s

size, he was flailing his arms and physically struggling with Lieutenant Lane to prevent himself

from being handcuffed, said “don’t touch me,” and it appeared that he was trying to get into the

Tahoe. Ex. G (Leon Dep.) at 78: 16-25; 79: 10-14; 80: 6-9; 87: 22 – 88: 6; 94: 24 – 96:2.

               Officer Baltzer heard Lieutenant Leon say “tase him,” but he drew his taser

because he believed it was necessary, not because of what Lieutenant Leon said. Ex. F (Baltzer

Dep.) at 64: 20-23; 65: 20 – 67: 8. Officer Baltzer felt it was necessary to use his taser because

plaintiff had approached the vehicle in a very aggressive and irate manner and the situation

escalated to the point where plaintiff was actively resisting arrest after multiple warnings and

exhibiting extreme aggression. Ex. F (Baltzer Dep.) at 66: 17 – 67: 25; 69: 17 – 71: 11; 71: 17-

22; 72: 2-10; Ex. L (Leon BWC #1) at 1:03 – 1:07. Plaintiff’s tone of voice and the movement

of his hands were aggressive and he was physically resisting arrest by struggling with Lieutenant

Lane and pulling his arms away from him. Ex. F (Baltzer Dep.) at 56: 14-15, 20-21; 68: 6-19;

69: 2-6; 71: 10-11; 72: 2-10; 73: 12-18; 74: 3-25; 89: 3-4; Ex. G (Leon Dep.) at 60: 8-17; 84: 14-

17; 86: 25 – 87: 5; 87: 22 – 88: 6; Ex. H (Lane Dep.) at 56: 14-15, 20-21; 61: 25 – 63: 4; 69: 11-

12; Ex. I (Swinkunas Dep.) at 82: 20 – 84: 17; 85: 16-20; 95: 21 – 96: 8; Ex. J (Jimenez Dep.) at

35: 2-8; 67: 16 – 68: 7; Ex. L (Leon BWC #1) at 1:06 – 1:07.

               Before deploying the taser, Officer Baltzer shouted “taser” three times. Ex. F

(Baltzer Dep.) at 93: 15-16; Ex. J (Jimenez Dep.) at 74: 4-8; Ex. L (Leon BWC #1) at 1:10 –

1:11. When Officer Baltzer pulled the taser trigger, he and Lieutenant Leon believed plaintiff

was attempting to enter the Tahoe through the open passenger door because he was facing the




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vehicle and leaning into it. Ex. E (Pl. Dep.) at 104: 23 – 105: 3 Ex. F (Baltzer Dep.) at 79: 5-8,

14-17; 80: 10-21; 81: 15 – 82: 13; Ex. G (Leon Dep.) at 62: 7-20; Ex. L (Leon BWC #1) at 1:09.

               Plaintiff was tased one time on his left hip, causing him to fall to the ground on

his left side. Ex. D (50-h) at 30: 9-11, 14-15; Ex. E (Pl. Dep.) at 117: 10-14; 118: 24 – 119: 13.

It was only at that point that the defendants were able to place him in handcuffs. Ex. D (50-h) at

30: 20-24; Ex. E (Pl. Dep.) at 119: 14-15; Ex. I (Swinkunas Dep.) at 111: 17-19; Ex. J (Jimenez

Dep.) at 76: 15-18.

               After plaintiff was tased, he told the defendants what information he knew about

the shooting of his son. Ex. E (Pl. Dep.) at 126: 25 – 127: 11; Ex. G (Leon Dep.) at 66: 9-13; Ex.

I (Swinkunas Dep.) at 112: 12-15; Ex. L (Leon BWC #1) at 2:28 – 5:35; Ex. N (Jimenez BWC)

at 00:30 – 4:08. A few minutes after the tasing, Joy Harris asked him “why you got tased,” and

plaintiff responded “because I was going to take the truck. They said it’s a crime scene.” Ex. N

(Jimenez BWC) at 4:08 – 4:12. Plaintiff was taken into the hospital where the taser prongs were

removed from his left hip and he was given stitches that later dissolved on their own. Ex. D (50-

h) at 34: 9-16; 35: 2-10; Ex. E (Pl. Dep.) at 127: 19-22; 129: 6-8; 132: 1-15; 133: 3-6. He did not

complain of any other injuries at the hospital. Ex. E (Pl. Dep.) at 136: 13 – 137: 3. He was

transported from the hospital to the 26th Precinct where he was arrested for resisting arrest and

obstructing governmental administration and released with a desk appearance ticket. Ex. D (50-

h) at 37: 20-22; 38: 2-3; 40: 10-12, 21-24; Ex. E (Pl. Dep.) at 139: 1-9; 144: 9-10; 145: 2-3; Ex.

G (Leon Dep.) at 75: 9-11; Ex. J (Jimenez Dep.) at 91: 24-25.

               Plaintiff alleges he sustained an injury to his left wrist when he fell that required

outpatient surgery. Ex. D (50-h) at 32: 21-25; 43: 21 – 47: 18; Ex. E (Pl. Dep.) at 150: 10 – 151:

6; 159: 22-23; 160: 7-8. As a result, he was on sick leave for eight weeks beginning November




                                               -7-
17, 2020. Ex. D (50-h) at 7: 7-14; Ex. E (Pl. Dep.) at p. 165: 5-13. The eight weeks fell within

his unlimited sick leave at the Department of Sanitation, and while on sick leave he was paid his

full base salary plus any “differentials” associated with his civil service title. Ex. D (50-h) at

9:8-17; Ex. E (Pl. Dep.) at 165: 14 – 166:1; 166: 11-12; Ex. K (Wright Dep.) at 28: 6 – 29: 14;

45: 20-25. He was not paid overtime or “extra money” for “picking the garbage up physically.”

Ex. E (Pl. Dep.) at 166: 2 – 167: 3; Ex. K (Wright Dep.) at 46: 2-11; 48: 10-17. After being on

sick leave for eight weeks he made a full return to work. Ex. E (Pl. Dep.) at 167: 21-24.

                                  STANDARD OF REVIEW

               Summary judgment is appropriate when, viewing the evidence in the light most

favorable to the non-movant, the court determines that no genuine issue of material fact exists.

See Fed. R. Civ. P. 56; Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 456

(1992). A motion for summary judgment, therefore, requires plaintiff to “make a showing

sufficient to establish the existence of an element essential to that party’s case…since a complete

failure of proof concerning an essential element of the nonmoving party’s case necessarily

renders all other facts immaterial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). Thus,

in order to avoid summary judgment, the non-moving party must come forward with admissible

evidence sufficient to raise a genuine issue of fact for trial. Jaramillo v. Weyerhaeuser Co., 536

F.3d 140, 145 (2d Cir. 2008) (internal citations omitted). The non-moving party must do “more

than simply show that there is some metaphysical doubt as to the material facts.” Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). Rather, the non-moving party

must “cit[e] to particular parts of the materials in the record to show that a fact is generally

disputed.” Fed. R. Civ. P. 56(c); see also Matsushita, 475 U.S. at 587. While the evidence must

be viewed in the light most favorable to the non-moving party, when there is reliable objective

evidence, the evidence may speak for itself. Scott v. Harris, 550 U.S. 372, 378-81 (2007).


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                                           ARGUMENT

                                              POINT I

                        THE   USE  OF  THE   TASER  WAS
                        OBJECTIVELY REASONABLE UNDER THE
                        CIRCUMSTANCES

                 Considering the totality of the circumstances here – including the need to preserve

evidence of the shooting and plaintiff’s repeated defiance of police orders, resistance to arrest,

hostility and aggression, apparent lack of concern that he was about to be arrested, and size – it

was objectively reasonable to use the taser to avoid a “hands-on” confrontation. Evaluating a

claim for excessive force “requires careful attention to the facts and circumstances of each

particular case, including the severity of the crime at issue, whether the suspect poses an

immediate threat to the safety of the officers, and whether he is actively resisting arrest or

attempting to evade arrest by flight.” Graham v. Connor, 490 U.S. 386, 396 (1989). Courts

should determine whether a use of force was reasonable by “considering the totality of the

circumstances faced by the officer on the scene.” Lennon v. Miller, 66 F.3d 416, 425 (2d Cir.

1995) (citation omitted).      Further, “police officers are often forced to make split-second

judgments – in circumstances that are tense, uncertain, and rapidly evolving,” Graham, 490 U.S.

at 396-97, and “the Supreme Court has emphasized [that] it is extremely important to evaluate

the record ‘from the perspective of a reasonable officer on the scene, rather than with the 20/20

vision of hindsight.’” Jones v. Treubig, 963 F.3d 214, 236 (2d Cir. 2020) (quoting Graham, 490

U.S. at 396)).

                 i.   First Graham Factor: Plaintiff’s criminal activity was serious

                 In the context of this situation, plaintiff’s criminal activity certainly ranks as

serious. The defendants correctly suspected that the Tahoe was related to the shooting, a crime

of the utmost severity, and were safeguarding it to be examined for evidence. As Lieutenant


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Lane aptly explained, “In this situation there was a shooting victim, there was a vehicle that was

considered a crime scene involved in a shooting, so us trying to preserve the evidence, I think

that’s a serious situation.” Ex. H (Lane Dep.) at 67: 4-8. Plaintiff posed an imminent threat of

interfering in that effort by relentlessly approaching the car in defiance of police orders. Indeed,

Officer Baltzer and Lieutenant Leon suspected plaintiff was trying to get into the car at the

moment he was tased. Ex. F (Baltzer Dep.) at 79: 5-8; Ex. G (Leon Dep.) at 62: 7-16. Their

belief was reasonable considering it is undisputed that plaintiff was standing directly next to the

open passenger door, Ex. L (Leon BWC #1) at 1:06, he never backed away from the Tahoe, Ex.

D (50-h) at 27:14 – 30:5; Ex. E (Pl. Dep.) at 117: 18-20, and he turned towards the open

passenger door when the officers “rushed” him. Ex. E (Pl. Dep.) at 103: 25 – 104: 3; 104: 23 –

105: 3; Ex. L (Leon BWC #1) at 1:06 – 1:10. Minutes after the tasing, plaintiff even said that he

was tased because he was “was going to take the truck. They said it’s a crime scene.” Ex. N

(Jimenez BWC) at 4:08 – 4:12. Any attempt by plaintiff to portray his criminal conduct as minor

because he was arrested for misdemeanors thus misses the mark, and this factor weighs in favor

of finding that the use of the taser was reasonable.

               ii.   Second Graham Factor: Plaintiff posed a threat to the defendants’
                     safety

               “Courts assessing the threat to officer safety look both to the officers’ statements

about their perception of a threat and objective factors that would justify such a fear.” Scoma v.

City of New York, No. 16 CV 6693 (KAM)(SJB), 2021 U.S. Dist. LEXIS 12727 at *23

(E.D.N.Y. Jan. 22, 2021) (quotation marks and citation omitted). Considering both objective and

subjective factors, the defendants could reasonably have perceived plaintiff as a threat to their

safety. From the moment he arrived on scene until he was tased he was hostile, defiant, and

argumentative. Ex. G (Leon BWC #1) at 00:01 – 1:12. He never complied with the officers’



                                               - 10 -
verbal commands to back away from the vehicle and never put his hands behind his back to be

handcuffed. Ex. D (50-h) at 27: 17 – 30: 5; Ex. E (Pl. Dep.) at 117: 18-23. He is six inches taller

and nearly 100 pounds heavier than the largest officer on scene.

               When Lieutenant Lane tried to grab plaintiff to place him under arrest, he raised

his hands up by his head. Ex. E (Pl. Dep.) at 103: 25 – 104: 11; 104: 23 – 105: 3; 107: 21 – 108:

1; Ex. L (Leon BWC #1) at 1:06 – 1:07. Plaintiff’s testimony that this was intended as signal he

was not a threat to the officers, Ex. E (Pl. Dep.) at 108: 18-22, rings hollow. When plaintiff

raises his hands up at Ex. L (Leon BWC #1) 1:06 – 1:07, he does so while saying “please don’t

touch me,” hardly a conciliatory statement under the circumstances. Further, thirty seconds

earlier at Ex. L (Leon BWC #1) 00:27 – 00:32, he raised his hands up over his head while saying

“please get away from me,” also not a sign of capitulation because he thereafter continued his

defiant approach toward the Tahoe. Moreover, Lieutenant Lane interpreted plaintiff raising his

hands at Ex. L (Leon BWC #1) at 1:06 – 1:07 as a sign that plaintiff was about to hit him

because he had refused numerous orders to back away from the Tahoe, said “you can’t tell me

what to do with my property,” his behavior and demeanor were aggressive, and he did not seem

to care when he was told he would be placed under arrest. Ex. H (Lane Dep.) at 55: 5-9; 56: 7-

22. Officer Jimenez similarly believed plaintiff could have injured one of the officers or himself

because he was very big, seemed upset, and was being uncooperative. Ex. J (Jimenez Dep.) at

79: 17 – 80: 11. All of the defendants perceived plaintiff’s conduct as physically resisting

Lieutenant Lane’s efforts to place him under arrest. Ex. F (Baltzer Dep.) at 68: 6-10, 17-19; 71:

10-11; 73: 12-18; 74: 3-25; 89: 3-4; Ex. G (Leon Dep.) at 60: 8-17; 84: 14-17; 86: 25 – 87: 5; 87:

22 – 88: 6; Ex. H (Lane Dep.) at 61: 25 – 63: 4; Ex. I (Swinkunas Dep.) at 82: 20 – 84: 17; 95:

21 – 96: 8; Ex. J (Jimenez Dep.) at 67: 16 – 68: 7.




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               In light of the threat plaintiff posed given his hostile behavior, size, defiance of

orders, and the fact that he was not handcuffed, Officer Baltzer’s use of the taser to bring him

under control was a reasonable alternative to a “hands-on” confrontation which could have

resulted in injury to everyone involved. See MacLeod v. Town of Brattleboro, 548 Fed. Appx. 6,

8 (2d Cir. 2013) (finding use of taser against non-compliant suspect was reasonable to “avoid[] a

‘hands-on’ situation with an unrestrained, dangerous individual,” citing Tracy v. Freshwater, 623

F.3d 90, 97 (2d Cir. 2010)); Prive v. Wells, No. 5:13-cv-320, 2015 U.S. Dist. LEXIS 33215 at

*38 (D. Vt. Mar. 17, 2015) (“Because ‘hands-on’ contact posed a risk of injury to both the

officers and Plaintiff, the use of the taser was a ‘reasonable step[] to minimize’ the continued use

of ‘actual,’ ‘hands-on’ force,” quoting MacLeod v. Town of Brattleboro, No. 5:10-cv-286, 2012

U.S. Dist. LEXIS 73481 at *38 (D. Vt. May 25, 2012), aff’d 548 Fed. Appx. 6); Towsley v.

Frank, No. 5:09-cv-23, 2010 U.S. Dist. LEXIS 137005 at *22-*23 (D. Vt. Dec. 28, 2010)

(finding use of taser reasonable where it “avoided a situation in which the officers would have

had to go ‘hands-on’ with a combative suspect, a situation that could result in serious injury” to

plaintiff and the officers, citing Draper v. Reynolds, 369 F.3d 1270, 1278 (11th Cir. 2004));

Draper, 369 F.3d at 1278 (finding “single use of the taser gun” reasonable because it “may well

have prevented a physical struggle and serious harm to either” plaintiff or defendant).

               Significantly, plaintiff was standing inches away from the Tahoe in the narrow

space between the open passenger door and the passenger seat. Ex. E (Pl. Dep.) at 103: 25 –

104: 1; Ex L (Leon BWC #1) at 00:47. A “hands-on” confrontation in that confined area could

very well have brought about precisely what the defendants were trying to prevent –

contaminating the Tahoe before it could be processed for evidence. This factor should therefore

be weighed against plaintiff.




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              iii.   Third Graham Factor: Plaintiff actively resisted arrest

               Numerous courts in this Circuit and others have found that repeated defiance of

police orders constitutes active resistance justifying the use of a taser. See, e.g., Crowell v.

Kirkpatrick, 400 Fed. Appx. 592, 594-95 (2d Cir. 2010) (finding use of taser reasonable where

plaintiffs actively resisted arrest by refusing orders to release themselves from heavy barrels they

had chained themselves to); MacLeod, 548 Fed. Appx. at 6 (finding repeated defiance of police

orders “do[es] not evince ‘passive resistance’ merely because [plaintiff] was not actually in the

act of” physically resisting immediately prior to being tased); Scoma, 2021 U.S. Dist. LEXIS

12727 at *26 (“Although neither the Supreme Court nor the Second Circuit has specifically

defined ‘active resistance,’ the Second Circuit has upheld uses of force involving tasers where

the suspect was actively non-compliant with the Officers’ directions,” citing MacLeod, 548 Fed.

Appx. at 8 and Crowell, 400 Fed. Appx. at 595); Prive, 2015 U.S. Dist. LEXIS 33215 at *37-*40

(finding non-compliance with police commands constitutes active resistance justifying use of

taser, citing MacLeod, 2012 U.S. Dist. LEXIS 73481, aff’d 548 Fed. Appx. 6); Draper, 369 F.3d

at 1278 (finding use of taser reasonable where plaintiff, who yelled at police and was “hostile,

belligerent, and uncooperative,” defied five orders to produce documents from the cab of his

truck); DeVoe v. Rebant, No. 05-71836, 2006 U.S. Dist. LEXIS 5326 at *21-*22 (E.D. Mich.

Feb. 13, 2006) (finding use of taser reasonable where plaintiff was “hostile and uncooperative,”

argued with officers, refused multiple orders to produce ID, and refused to get into patrol car,

citing Draper, 369 F.3d 1270); see also Towsley, 2010 U.S. Dist. LEXIS 137005 at *20-*24

(finding tasing reasonable where plaintiff, among other things, refused 26 orders to submit to

arrest); Tracy, 623 F.3d at 97 (finding use of force reasonable where plaintiff “appeared to fail to

comply with a direct order and instead actively resist arrest”).




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                  In all of these cases, the plaintiffs never physically or forcefully interfered with

their arrest, 2 yet the courts nevertheless found they actively resisted, justifying the use of a taser.

The salient point is that courts agree officers need not resort to a “hands-on” confrontation,

putting themselves and plaintiff at risk of injury, to gain compliance of a recalcitrant arrestee

who has demonstrated he will never obey a verbal order no matter how many times it is given.

                  Here, it is undisputed that plaintiff refused to comply with every order the

defendants gave him and did not submit to being arrested. He never moved away from the

Tahoe, Ex. D (50-h) at 27: 16 – 30: 5; Ex. E (Pl. Dep.) at 117: 18-20; Ex. L (Leon BWC #1) at

00:01 – 1:07, said “I’m not stepping away from anything,” Ex. L (Leon BWC #1) at 1:03 – 1:05,

and never put his hands behind his back to be handcuffed. Ex. E (Pl. Dep.) at 117: 21-23. The

officers had no reason to doubt plaintiff heard and understood their orders yet consciously and

deliberately refused to follow them 3; indeed, he responded directly to their commands by saying

“get away from me,” “you cannot tell me what to do with my property,” “you already looked

inside the car,” and “I’m not stepping away from anything,” Ex. L (Leon BWC #1) at 00:30 –

1:05, none of which would indicate he had any intention of complying. Perhaps most important

from the defendants’ perspective, when he was told he would be placed under arrest he

responded by yelling “I don’t care” five times. Ex. G (Leon BWC #1) at 00:49 – 00:55. Under

Second Circuit precedent, this repeated defiance of directives clearly and unequivocally

constitutes active resistance.



2
  In many cases (i.e. MacLeod, Scoma, Draper, and Towsley), the officers and plaintiff were separated by some
distance and did not even come into physical contact before the taser was deployed.
3
  While plaintiff claimed at his deposition that he did not hear the officers’ orders, Ex. E (Pl. Dep.) at 87: 8 – 88: 1;
90: 15-22; 92: 23 – 93: 5; 97: 8-10; 98: 2-4, 17-19; 100: 7-12, this is immaterial because the defendants had no
reason to doubt that plaintiff heard and understood them. Moreover, it is belied by his 50-h testimony (which
occurred months before he had the benefit of viewing the BWC video), where he testified that he heard the police
tell him to back away from the car three times. Ex. D (50-h) at 27: 16 – 28: 23.



                                                         - 14 -
               This case is similar to MacLeod where, after leading police on a car chase,

plaintiff “contravene[ed] clear, repeated instructions that he acknowledge[d] he understood[,]

rose to his feet, turned to face the officers with his hands outstretched, and refused to return to

the ground. Rising from the ground rather than submitting to arrest exacerbated a ‘tense,

uncertain, and rapidly evolving’ situation…” MacLeod, 548 Fed. Appx. at 8 (quoting Graham,

490 U.S. at 397). The Court found “it was reasonable for [defendant] – after repeated, clear

commands that [plaintiff] return to the ground – to decide that using the taser was required to

effect the arrest.   This avoided a ‘hands-on’ situation with an unrestrained, dangerous

individual.” Id. (quoting Tracy, 623 F.3d at 97). Plaintiff here, who was unrestrained, defiant,

and hostile, refused repeated, clear commands to back away from the Tahoe and turn around to

be placed under arrest during what he himself characterized as a fast-moving situation. Ex. E

(Pl. Dep.) at 95: 16-17; 97: 1-3; 101: 2-3; 105: 20-21; 109: 24; 115: 19. As in MacLeod, it was

therefore reasonable for Officer Baltzer to deploy the taser to effect the arrest and avoid a

“hands-on” confrontation with plaintiff, who is substantially larger than the officers on scene.

               This calculous does not change even assuming, arguendo, that plaintiff’s criminal

behavior in MacLeod was of a greater severity than plaintiff’s here. In Crowell, the Court found

the use of a taser was reasonable even where “plaintiffs were arrested for the relatively minor

crimes of trespass and resisting arrest and were not threatening the safety of any other person

with their behavior” because they were nevertheless “actively resisting their arrest” where they

chained themselves to several hundred pound barrels and refused police orders to release

themselves. Crowell, 400 Fed. Appx. at 594-95. Certainly if it was reasonable to use a taser

against the non-threatening yet non-compliant plaintiffs in Crowell, it was reasonable here as

well.




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               Moreover, plaintiff cannot dispute that he was warned he might be tased. The

Second Circuit has held that “‘our precedent suggests it is not excessive force to deploy tasers,

after a warning, against arrestees who are dangerous or resisting arrest.’” Jones, 963 F.3d at 228

(emphasis in original) (quoting Penree v. City of Utica, 694 Fed. Appx. 30, 33 (2d Cir. 2017) and

citing MacLeod, 548 Fed. Appx. 6-7 and Crowell, 400 Fed. Appx. at 595-96). Plaintiff heard

“tase him” between three and five times before he was tased. Ex. D (50-h) at 29: 12 – 30: 10;

Ex. E (Pl. Dep.) at 112: 14-20. After the first time, he thought “maybe it was a scare tactic.” Ex.

E (Pl. Dep.) at 114: 3-10. After the second time, he understood “tase him” meant he might be

tased. Ex. Ex. E (Pl. Dep.) at 114: 11-14. After the third time, he thought maybe it was still “a

threat” but he “knew it was serious at that point.” Ex. E (Pl. Dep.) at 115: 2-7. A “scare tactic”

or “threat” is simply another way of saying a warning. Plaintiff knew what a taser was and what

it did, Ex. E (Pl. Dep.) at 113: 19-23, so he cannot dispute that he was aware of the potential

consequences of failing to obey the officers’ commands. Despite this warning, plaintiff took no

actions to comply with the officers’ orders.

               Certainly none of plaintiff’s actions at any point before he was tased would have

suggested to a reasonable officer that he was going to submit to arrest; on the contrary, his

behavior demonstrated the exact opposite. Nor did he say anything between hearing “tase him”

for the first time and when he was actually tased that could have informed the defendants he was

going to relent, Ex. D (50-h) at 29: 12 – 30: 8; Ex. E (Pl. Dep.) at 118: 9-12, and everything he

said up until that point was oppositional and defiant. His alleged subjective belief that he never

tried to resist, Ex. E (Pl. Dep.) at 115: 18, is highly dubious in light of his actions and in any

event is immaterial. Further, it is immaterial that he is not visible on the BWC for several

seconds before he was tased. The BWC and his own testimony prove that the defendants




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reasonably believed he heard their orders and intentionally defied them. Indeed, at his deposition

plaintiff was unable to state whether the officers could have said anything to induce him to move

away from the Tahoe. Ex. E (Pl. Dep.) at 101: 11-18. Even if, in plaintiff’s estimation, he had

decided to surrender seconds before he was tased, the defendants, taking into consideration his

previous noncompliance, reasonably concluded otherwise.

               In MacLeod, the Second Circuit rejected plaintiff’s argument that the use of a

taser was unreasonable because he had “voluntarily ceased his criminal conduct and was

attempting to surrender at the time he was tased.” MacLeod, 548 Fed. Appx. at 7 (quotation

marks omitted). The Court found that “whatever [plaintiff’s] subjective intent,” id., from the

officers’ perspective, his repeated defiance of orders to return to the ground exacerbated a “tense,

uncertain, and rapidly evolving” situation justifying the use of the taser. Id. The Circuit also

noted the defendant “‘could reasonably have interpreted [plaintiff’s] previous noncompliance,

i.e. standing up, as indicative of the possibility of further resistance.’” MacLeod, 58 Fed. Appx.

at 7 (quoting Davis v. Callaway, No. 3:05CV127 (DJS), 2007 U.S. Dist. LEXIS 29468 at *14 (D.

Conn. Apr. 9, 2007)). Similarly in Towsley, the Court rejected plaintiff’s last-minute surrender

argument, finding it was objectively reasonable for the officers to conclude that, in light of his

previous non-compliance with their orders, he was continuing to defy their commands when he

was tased. Towsley, 2010 U.S. Dist. LEXIS 137005 at *23-*24.

               As in MacLeod and Towsley, any self-serving argument from plaintiff that he had

decided to surrender at the last second does not negate his prior defiance of police orders. Even

if plaintiff subjectively believed he was showing submission just before he was tased, the

officers reasonably interpreted his previous noncompliance as indicative of the possibility of

further resistance. It was thus reasonable to conclude that a physical confrontation would have




                                               - 17 -
been necessary to subdue him without the taser, precisely the “hands-on” confrontation the

defendants were lawfully permitted to prevent. In any event, whatever else plaintiff may claim

he was doing when the taser was deployed, he cannot dispute that up to that moment he never

moved away from the Tahoe, put his hands behind his back to be handcuffed, or told the

defendants he was surrendering. Ex. D (50-h) at 27:4 – 30: 8; Ex. E (Pl. Dep.) at 117: 18-23;

118: 9-12. His non-compliance and refusal to submit to arrest thus indisputably continued up

until the moment he was tased and this factor should be weighed heavily against him.

               At a minimum, the excessive force claim should be dismissed against all of the

defendants except Officer Baltzer because they were not personally involved in tasing plaintiff.

“It is well settled that, in order to establish a defendant’s individual liability in a suit brought

under § 1983, a plaintiff must show, inter alia, the defendant’s personal involvement in the

alleged constitutional deprivation.” Grullon v. City of New Haven, 720 F.3d 133, 138 (2d Cir.

2013). While plaintiff was handcuffed, he does not allege in the First Amended Complaint that

the handcuffs were applied with excessive tightness, that he asked for them to be loosened, or

that they caused injury. The handcuffing therefore cannot be the basis of an excessive force

claim. See, generally, Lynch v. City of Mt. Vernon, 567 F. Supp. 2d 459, 468 (S.D.N.Y. 2008).

                                            POINT II

                       THE DEFENDANTS ARE ENTITLED TO
                       QUALIFIED IMMUNITY BECAUSE THERE
                       WAS NO CLEARLY ESTABLISHED LAW
                       THAT PROHIBITED THEM FROM USING
                       THE TASER, AND REASONABLE OFFICERS
                       COULD DISAGREE AS TO WHETHER IT
                       WAS LAWFUL

               In the alternative, the defendants are entitled to qualified immunity because there

was no clearly established law that they could not use the taser on plaintiff, and reasonable

officers could disagree as to whether using the taser was lawful. In analyzing whether an official


                                               - 18 -
is entitled to qualified immunity, “the court must consider whether ‘(1)…the official violated a

statutory or constitutional right, and (2)…the right was ‘clearly established’ at the time of the

challenged conduct.’” Jones, 963 F.3d at 224 (alterations in original) (quoting Ricciuti v.

Gyzenis, 834 F.3d 162, 167 (2d Cir. 2016)). “A right is clearly established only if its contours

are sufficiently clear that ‘a reasonable official would understand that what he is doing violated

that right.’” Muschette v. Gionfriddo, 901 F.3d 65, 69 (2d Cir. 2018) (quoting Carroll v. Carman,

574 U.S. 13, 17 (2014)). “An officer is entitled to qualified immunity if ‘any reasonable officer,

out of the wide range of reasonable people who enforce the laws in this country, could have

determined that the challenged action was lawful. [O]ur inquiry [on qualified immunity] is not

whether the officer should have acted as he did. Nor is it whether a singular, hypothetical entity

exemplifying the ‘reasonable officer’…would have acted in the same way.” Id. at 70 (emphasis

and alterations in original) (quoting Figueroa v. Mazza, 825 F.3d 98, 100 (2d Cir. 2016)).

               On September 2, 2020, “it [was] clearly established that officers may not use a

taser against a compliant or non-threatening suspect.” Muschette, 901 F.3d at 70 (quoting Tracy,

623 F.3d at 96-98). However, plaintiff was neither compliant nor non-threatening. In Jones,

decided less than three months before plaintiff’s arrest, the Second Circuit stressed that “a

critical fact for purposes of qualified immunity…is whether [plaintiff] was resisting arrest in any

way at the time of the [] tasing, because there was no clearly established law that would fairly

warn police officers that a taser could not be used against a resisting arrestee.” Jones, 963 F.3d

at 228 (emphasis added); see also Brown v. City of New York, 862 F.3d 182, 190 (2d Cir. 2017)

(finding “no precedential decision of the Supreme Court or this Court ‘clearly establishes’ that

[using pepper spray and other force], viewed in the circumstances in which they were taken,

were in violation of the Fourth Amendment,” where “those circumstances involved a person’s




                                              - 19 -
repeatedly refusing to follow the instructions of police officers who were attempting to apply

handcuffs to accomplish an arrest”). As shown in Point I(iii), at the time plaintiff was tased, he

was resisting arrest by defying repeated police orders to back away from the Tahoe. There was

therefore no clearly established law that the defendants could not use the taser against him.

               Further, it cannot be said that no reasonable officer would have tased plaintiff to

subdue him. In Muschette, police were called to a school for the deaf after plaintiff, a student,

hit and threw rocks at staff members and fled the campus to a nearby construction site.

Muschette, 910 F.3d at 70. The defendant officer gave verbal instructions to plaintiff and

warned him that he would be tased if he did not comply, which the defendant reasonably

believed were communicated to plaintiff in sign language. Id. “It was only then – when it

appeared to [defendant] that [plaintiff] was ignoring his instructions – that [defendant] deployed

the taser.” Id. The Second Circuit found “under these circumstances, we cannot say that no

reasonable officer would have believed that the use of the taser to subdue [plaintiff] was lawful,”

and the defendant was therefore entitled to qualified immunity. Id. (citing Tracy, 623 F.3d at

97). The Court explained that “we have repeatedly concluded in summary orders that it is not

unreasonable for an officer to use a taser in analogous circumstances.” Id. at 71 (citing Penree,

694 Fed. Appx. at 33, MacLeod, 548 Fed. Appx. at 8, and Crowell, 400 Fed. Appx. at 595).

               Thus Muschette was simply reiterating the Second Circuit’s many previous

holdings that it is not unlawful for police to use a taser against a suspect who is actively resisting

arrest by defying repeated orders the officers believe the suspect heard. Muschette’s reasoning

applies to this case even assuming, arguendo, that the Muschette plaintiff’s conduct posed a

heightened level of danger to the officer than plaintiff’s here. Muschette cites to Crowell as a

case involving “analogous circumstances,” where plaintiffs were committing a minor, nonviolent




                                                - 20 -
crime and posed no danger to anyone. Muschette, 910 F.3d at 71. Further, plaintiff in Muschette

was a 12-year-old boy, id. at 70, a far cry from the six-foot-two, 280 pound adult plaintiff here.

Moreover, plaintiff in Muschette was sitting down and 15 feet away from the defendant when he

was tased, id. at 68, whereas plaintiff here was within arms’ length of the defendants and

standing on his feet. The bottom line is that if using a taser was objectively reasonable under the

circumstances in MacLeod and Crowell, and arguably reasonable under the circumstances in

Muschette, certainly in this instance it was at least arguably reasonable and the defendants are

entitled to qualified immunity.

                                            POINT III

                       PLAINTIFF’S FAILURE TO INTERVENE
                       CLAIM SHOULD BE DISMISSED

               “An underlying constitutional violation is an essential element of a failure to

intercede claim under § 1983.” Henry-Lee v. City of New York, 746 F. Supp. 2d 546, 566

(S.D.N.Y. 2010) (citing Ricciuti v. New York City Transit Auth., 124 F.3d 123, 129 (2d Cir.

1997)). As set forth above, plaintiff fails to show any constitutional violation and his failure to

intervene claim should be dismissed. Moreover, “An officer will only be liable [for failure to

intervene] if (1) he had a realistic opportunity to intervene and prevent the harm; (2) a reasonable

person in the officer’s position would know that the victim’s constitutional rights were being

violated; and (3) the officer does not take reasonable steps to intervene.” Cordero v. City of New

York, 282 F. Supp. 3d 549, 562 (E.D.N.Y. 2017) (quotation marks and citation omitted). As

demonstrated in Point II, no reasonable officer would have known that using the taser violated

plaintiff’s constitutional rights. Further, the records shows that events unfolded so rapidly, Ex. E

(Pl. Dep.) at 95: 16-17; 97: 1-3; 101: 2-3; 105: 20-21; 109: 24; 115: 19, Lieutenant Lane,

Detective Swinkunas, and Officer Jimenez did not have a realistic opportunity to prevent officer



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Baltzer from deploying the taser.       The failure to intervene claim should accordingly be

dismissed.

                                            POINT IV

                       PLAINTIFF’S  STATE               LAW       CLAIMS
                       SHOULD BE DISMISSED

               “Federal excessive force claims and state law assault and battery claims against

police officers are nearly identical.” Scoma, 2021 U.S. Dist. LEXIS 12727 at *43 (citing

Humphrey v. Landers, 344 Fed. Appx. 686, 688 (2d Cir. 2009)). Plaintiff’s assault and battery

claims should therefore be dismissed for the same reasons as his excessive force claim. See id. at

*44. This is true even if the Court finds the defendants are entitled to qualified immunity. “The

finding of qualified immunity on [an] excessive force claim[] requires a grant of summary

judgment on assault and battery as well.” Felix v. City of New York, 408 F. Supp. 3d 304, 312

(S.D.N.Y. 2019) (citing Papineau v. Parmley, 465 F.3d 46, 63 (2d Cir. 2006)). “New York

courts recognize the defense of qualified immunity to shield government officials from liability

unless that action is taken in bad faith or without a reasonable basis.” Blouin v. Spitzer, 356 F.3d

348, 364 (2d Cir. 2004). Thus “while qualified immunity under federal law is an objective

inquiry, New York’s qualified immunity has both an objective component (reasonableness) and a

subjective component, making qualified immunity unavailable if there are ‘undisturbed findings

of bad faith.’” Hargroves v. City of New York, No. 03 CV 1668 (RRM)(VMS), 2014 U.S. Dist.

LEXIS 41661 at *10 (E.D.N.Y. Mar. 26, 2014) (quoting Lore v. City of Syracuse, 670 F.3d 127,

166 (2d Cir. 2012) and Pietra v. State, 71 N.Y.2d 792, 795 (1988)). “The objective components

of both federal and New York qualified immunity analysis – the reasonableness inquiry – are

essentially coextensive.” Id. (citing Papineau, 465 F.3d at 64, Mesa v. City of New York, No. 09

Civ. 10464 (JPO), 2013 U.S. Dist. LEXIS 1097 at *38 (S.D.N.Y. Jan. 3, 2013), and Johnson v.



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City of New York, No. 05 Civ. 7519, 2011 U.S. Dist. LEXIS 72610 at *4 (S.D.N.Y. June 30,

2011)). “Thus, where an officer’s actions are deemed objectively reasonable, that officer will be

immune under both federal and state law.” Mesa, 2013 U.S. Dist. LEXIS 1097 at *38 (citing

Papineau, 465 F.3d at 64)). Here, there is no evidence that the defendants acted in bad faith, and

they would therefore be entitled to qualified immunity under both federal and state law.

                  Moreover, were the Court to dismiss the assault and battery claim for any reason,

including qualified immunity, plaintiff’s respondeat superior claim would fail as well. When

any state law claims pled against an individual defendant officer fail, “plaintiff’s same claims

against the City must also be dismissed. There being no underlying offense for which the City

could be held vicariously liable, the same claims must be dismissed against the City. In other

words, by dismissing these claims as against [the individual defendant officers], there is no tort

upon which respondeat superior liability may be predicated…where an individual officer is

protected by qualified immunity, the same claims against the City predicated on a vicarious

liability theory must also be dismissed.” 4 Hargroves, 2014 U.S. Dist. LEXIS 41661 at *12-*13

(citing Stevens v. City of New York, No. 10 CV 2172, 2012 U.S. Dist. LEXIS 165936 at *4 n.6




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  The Second Circuit’s recent decision in Triolo v. Nassau Cnty., 24 F.4th 98, 2022 U.S. App. LEXIS 1786 (2d Cir.
Jan. 21, 2022) does not change this analysis. Triolo was a decision on a Rule 50 motion made after the defendant
detective was found liable by a jury for falsely arresting plaintiff. Id. at *2, *11. The Second Circuit found that
even though the individual defendant was entitled to immunity under state law because he had arguable probable
cause to arrest, the county was still liable under a theory of respondeat superior. Id. at *23-*28. However, in
Hargroves, the Second Circuit reversed a district court’s denial of summary judgment, finding that the defendants
were entitled to qualified immunity because there was arguable probable cause to arrest and they had therefore acted
objectively reasonably. Hargroves, 411 Fed. Appx. 378, 382 (2d Cir. 2011). The Circuit remanded, ordering that
“Judgment for defendants shall enter on the basis of qualified immunity on all of plaintiffs’ claims.” Id. at 386. The
district court dutifully entered judgment for the individual defendants on the basis of qualified immunity, then
dismissed the respondeat superior claim against the City because there was “no underlying offense for which the
City could be held vicariously liable.” Hargroves, 2014 U.S. Dist. LEXIS 41661 at *12. Hargroves explicitly
survived Triolo. 2022 U.S. App. LEXIS 1786 at *27. Thus were the Court to grant qualified immunity here, it
would fall within the ambit of Hargroves, not Triolo, because unlike Triolo, where a jury had found in favor of
plaintiff, in this case there would be no determination that the defendants had in fact violated plaintiff’s rights.



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(S.D.N.Y. Nov. 14, 2012), Harsco v. Segui, 91 F.3d 337, 349 (2d Cir. 1996), Johnson, 2011 U.S.

Dist. LEXIS 72610 at *4, and Ackerson v. City of White Plains, 702 F.3d 15, 22 (2d Cir. 2012)).

                                            POINT V

                       ANY CLAIM FOR LOST WAGES SHOULD
                       BE DISMISSED

               Plaintiff is not entitled to damages for purported lost overtime pay. “An award

for ‘overtime is not appropriate in most cases since it is generally speculative whether the

employee would have been entitled to it.’” Battista v. United States, 889 F. Supp. 716, 725

(S.D.N.Y. 1995) (quoting Stoker v. Tarantino, 126 A.D.2d 815, 816 (3d Dept. 1987)); see also

Freeman v. Tuan Anh Nguyen, No. 13 Civ. 832 (JMA), 2015 U.S. Dist. LEXIS 4971 at *9

(S.D.N.Y. Jan. 15, 2015) (finding “income that [plaintiff] may have lost for weekend and holiday

work is too speculative to warrant an additional award” where the record showed he “may have

[] missed some sporadic weekend and holiday assignments while he was on leave and light

duty”); Schrader v. Manticof, No. 18 CV 1786 (ILG)(RLM), 2019 U.S. Dist. LEXIS 115760 at

*12-*13 (E.D.N.Y. July 10, 2019), report and recommendation adopted 2019 U.S. Dist. LEXIS

203377 (E.D.N.Y. Aug. 6, 2019).

               It is undisputed that plaintiff was paid his full basic salary, including any

differentials he was entitled to, while on sick leave. Ex. D (50-h) at 9:8-17; Ex. E (Pl. Dep.) at

165: 24 – 166:1; 166: 11-12; Ex. K (Wright Dep.) at 28: 10 – 29: 14. He alleges that during his

sick leave he missed overtime pay for “tak[ing] care of the snow, driving the plow, and

everything like that.” Ex. E (Pl. Dep.) at 166: 7-8. However, it is speculative to say that it would

have snowed or he would have been assigned such duties during the period at issue. Further,

plaintiff claimed that he was “pay[ed] [] double time for working Sundays which I missed out

on.” Ex. E (Pl. Dep.) at 166: 24-25. But there is no evidence in the record showing how many



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Sundays he would have worked had he not been on sick leave. While he testified he was not

paid “extra money” for “picking the garbage up physically,” Ex. E (Pl. Dep.) at 166: 8-9, there is

no evidence as to how much or how frequently he was paid for this task. Nor did he establish

how much overtime he would have been paid for snow-clearing duties versus working on

Sunday. In fact there is no evidence showing the specific amounts he would have been paid for

designated categories of overtime or whether he would have actually collected such categories of

overtime had he not been on sick leave. His lost wages claim is therefore based on conjecture

and speculation and should thus be dismissed.

                                        CONCLUSION

               This case is a prime example of a scenario where plaintiff provoked and was at

fault for his own injury. Had he simply complied with the officers’ reasonable commands to

back away from the Tahoe, he would not have been arrested or tased and this complaint would

never have been filed. Plaintiff should not be permitted turn his intentional disobedience into a

claim for damages against the defendants, who gave him every opportunity to comply before

resorting to the taser. This is not a situation where police were overly hasty to use force, heavy-

handed in their efforts to gain compliance, or being unreasonable in ordering plaintiff to back

away from the car in the first place. Certainly any police officer would have secured a crime

scene like the Tahoe and arrested anyone who tried to interfere with the potential evidence. By

the time Officer Baltzer deployed the taser, plaintiff had unequivocally demonstrated that

nothing the officers could have said would get him to comply. Under these circumstances, the

defendants were not required to run the risk of injuring themselves or plaintiff by engaging in a

physical fight to get him handcuffed. For the foregoing reasons, defendants City of New York,

Lieutenant Angel Leon, Detective Kristen Swinkunas, Officer Antonella Jimenez, Officer

Maxwell Baltzer, and Lieutenant John Lane respectfully request that the Court grant their motion


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for summary judgment, together with such other and further relief as this Court may deem just

and proper.

Dated:         New York, NY
               March 2, 2022


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